                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                                 No. 15-CR-2037-LRR
 vs.                                                               ORDER
 ALEJANDRO BECERRA,

                Defendant.
                                  ____________________

       On August 16, 2016, the court accepted the jury verdict finding Defendant
Alejandro Becerra guilty of Count 1 of the Indictment.
       Accordingly, IT IS ORDERED as follows:
       1.     Defendant is adjudicated guilty of Count 1 of the Indictment.
       2.     The United States Probation Office shall conduct a presentence investigation
and prepare a report.
       3.     The attorneys shall timely comply with the deadlines for preparation of the
presentence report.
       4.     Defendant is to remain in custody pending sentencing.
       5.     The parties are reminded that “[e]xcept by leave of court, no party or lawyer,
and no other person acting on their behalf, may contact, interview, examine, or question
any trial juror or potential trial juror before, during, or after a trial concerning the juror’s
actual or potential jury service.” LR 47; LCrR 24.1.
       IT IS SO ORDERED.
       DATED this 16th day of August, 2016.




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